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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

   PREE MARTIN f/k/a PREE JETT,                    )
   individually, and on behalf of all others       )
   similarly situated,                             )
                                                   )
               Plaintiff,                          )
                                                   )
                                                   )   Case No. 4:20-cv-01414-MTS
   v.                                              )
                                                   )
   LVNV FUNDING, LLC,                              )
                                                   )
               Defendant.                          )

                        PLAINTIFFS’ MOTION TO REMAND ACTION
                       TO THE CIRCUIT COURT OF ST. LOUIS COUNTY

          Come now Plaintiff Pree Martin f/k/a Pree Jett, by her undersigned counsel, pursuant to 18

U.S.C. § 1447, and for her motion to remand action to the Circuit Court of the St. Louis County,

states:

          1.      Defendant LVNV Funding, LLC (“LVNV”) removed this case from the Circuit

Court of St. Louis County, Missouri on October 1, 2020. [Doc. 1].

          2.      LVNV asserts the case may be removed under 28 U.S.C. 1332 because “complete

diversity of citizenship exists, and the amount in controversy exceeds $75,000.” [Doc. 1, ¶ 3].

          3.      This matter should be remanded to the Circuit Court of the St. Louis County as this

Court lacks subject-matter jurisdiction as the amount in controversy does not exceed $75,000.

LVNV alleges “if Plaintiff obtains the class certification he is seeking, the amount in controversy

will be in excess of $75,000.” [Doc. 1, ¶ 8]. However, class action claims cannot be aggregated to

reach the $75,000 amount-in-controversy requirement. Kessler v. Nat'l Enterprises, Inc., 347 F.3d

1076 (8th Cir. 2003).
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       4.      In addition, the matter should be remanded as LVNV has failed to establish

diversity of citizenship among the parties. LVNV alleges “Defendant is a Delaware limited

liability company with its principal place of business in South Carolina . . .” [Doc. 1, ¶ 7]. However,

the citizenship as an LLC is defined by the citizenship of its members. GMAC Commercial Credit

LLC v. Dillard Dep't Stores, Inc., 357 F.3d 827, 828 (8th Cir. 2004). LVNV makes no allegations

and offers no proof as to the citizenship of its members.

       5.      Because LVNV has failed to satisfy the $75,000 amount-in-controversy

requirement and failed to show the parties are of diverse citizenship, this action should properly

be remanded to the Circuit Court of St. Louis County.

       WHEREFORE Plaintiff Pree Martin f/k/a Pree Jett prays for an order of the Court

remanding this case to the Circuit Court of the St. Louis County, Missouri, Twenty-First Judicial

Circuit, and awarding such other relief that this Court deems just and proper.



                                               BUTSCH ROBERTS & ASSOCIATES LLC


                                            By: /s/ David T. Butsch
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 9th day of October, 2020, a true and correct
copy of the foregoing document was filed electronically with the Clerk of Court to be served by
operation of the Court’s electronic filing system upon all counsel of record.


                                             /s/ David T. Butsch
